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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO FLORIDA

CHERYL OWENS,

       Plaintiff,                            CASE NO.: 6:18-CV-00070-ACC-KRS

-vs-

COMENITY BANK,

       Defendant.
                                  /


                    JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


        COMES NOW the Plaintiff, Cheryl Owens, and the Defendant, Comenity Bank,

and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismiss, with

prejudice, each claim and count therein asserted by Plaintiff against the Defendant in

the above styled action, with Plaintiff and Defendant to bear their own attorney’s fees,

costs and expenses.

        Respectfully submitted this 1st day of November, 2018.

/s/ Octavio Gomez                           /s/ David J. Kaminski
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